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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                    )
                                             )
                    Plaintiff,
                                             )                   8:01CR222
             v.                              )
                                             )
WISDOM PAWNEE WEBSTER,
                                             )
                                             )                       ORDER
                    Defendant.
                                             )
                                             )


      Pursuant to the hearing held on May 1, 2008, defense counsel has informed the
court that halfway house placement is now available for the defendant. Accordingly,

      IT IS ORDERED that defense counsel’s oral motion for release to halfway house
placement is granted. The defendant is ordered released from custody on Monday,
May 19, 2008, to his mother, Barbara Fremont, for transport to the UMO N NoN Alcohol
Program. The defendant must report to the UMO N NoN Alcohol Program no later than
5:00 p.m. on May 19, 2008. The defendant is to participate and successfully complete
the UMON NoN Alcohol Program at Macy, Nebraska.

      DATED this 16th day of May, 2008.


                                            BY THE COURT:




                                            s/ Joseph F. Bataillon
                                            Chief United States District Judge
